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                                                  U.S. Department of Justice
[Type text]
                                                       United States Attorney
w                                                      Southern District of New York

                                                       86 Chambers Street
                                                       New York, New York 10007

                                                       June 9, 2025
              06/10/2025
By ECF
The Honorable Katharine H. Parker      The Court thanks the parties for their update. The next status update
United States Magistrate Judge         shall be due on July 8, 2025.
Southern District of New York                                              06/10/2025
500 Pearl Street
New York, New York 10007

       Re:     International Refugee Assistance Project, Inc. v. United States Citizenship and
               Immigration Services, et al., No. 23 Civ. 1236 (KHP)

Dear Judge Parker:

         This Office represents Defendants United States Citizenship and Immigration Services
(“USCIS”) and the Department of State (“State,” and together with USCIS, the “Government”) in
the above-referenced Freedom of Information Act (“FOIA”) action. We write jointly with Plaintiff
International Refugee Assistance Project, Inc. (“IRAP”) in response to the Court’s order to file a
joint status report on the eighth day of each month, or if that date is a weekend or public holiday,
then on the following Monday.

       This matter concerns FOIA requests IRAP submitted to State and USCIS. The USCIS
request seeks records for case management software systems used or accessed by USCIS to
process a refugee for resettlement to the United States through the U.S. Refugee Admissions
Program. The State request seeks the same records with respect to State (“Part One” of the State
request), as well as anonymized data from individual refugee cases (“Part Two” of the State
request).

        With respect to USCIS, as we have noted in previous status reports, USCIS made a release
of identified responsive records in July 2023. In recent months, the parties have been discussing
whether it is necessary for USCIS to run additional searches. IRAP has made a request for
additional searches. Since the last status report, USCIS has responded with a specific proposal and
IRAP has asked the agency to provide additional information so it can evaluate the proposal. The
parties continue to discuss these issues in an effort to determine whether they can be resolved
without litigation.

        With respect to Part One of the State request, State is continuing to process records it
located in its search. State made its seventeenth production of records responsive to Part One of
the State request on May 1, 2025, and it anticipates making its eighteenth production of such
records by June 13, 2025. State anticipates that it will complete productions by this September. As
State’s processing nears completion, IRAP is reviewing State’s productions to determine whether
it has any questions about the agency’s asserted exemptions. If so, the parties plan to discuss such
issues between themselves to determine if they can be resolved without litigation.
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       With respect to Part Two of the State request, as we noted in our last status report, State
produced data via CD mailed to IRAP on May 6, 2025. IRAP is continuing to review this
production.

        The parties thank the Court for its consideration of this joint status report and will file their
next joint status report by July 8, 2025. If any issue becomes ripe for summary judgment motion
practice in the meantime, the party seeking to file the motion will request a pre-motion conference
with the Court.


                                                    Respectfully,

                                                    JAY CLAYTON
                                                    United States Attorney for the
                                                    Southern District of New York

                                            By:     /s/ Peter Aronoff
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